Case 2:02-cv-02177-.]PI\/|-STA Document 75 Filed 05/05/05 Page 1 of 7 Page|D 150

 

  

IN THE UNITED sTATEs DISTRICT CoURT F"*"‘"i"“’ iii
WESTERN DISTRICT oF TENNESSEE m _, , .“,
wEsTERN DIVISION "’ l"'“ “5 ml 3‘ l3
DoNALD R. DEPRIEST, ) - lifin-10
-.‘_`». mlC)l. CT.
) `=\.".fyl,`l` fly hil"-l. l‘.".ll.'.l".r'l.l""‘l'll$
Plaintiff, )
)
v. ) Civil Action No. 2:02-2177
)
ELLEN H. HARDYMON and ) JUDGE McCALLA
MSB FINANCIAL sEvaCEs )
CoRPoRATIoN, )
)
Defendants. )

 

COURT’S DECISION AND ENTRY

 

This matter came before the Court for a bench trial on April 25 and 26, 2005 . The case arises
out of Defendants’ sale of stock in a Tennessee corporation to Plaintiff on November ]5, 1999.
Plaintiff later filed this lawsuit, claiming that Defendants misrepresented and/or omitted to disclose
material facts respecting the purchase of the stock. P]aintiff sought damages for, among otherthings,
alleged common law fraud, negligent misrepresentation and fraudulent inducement to contract
Defendants counterclaimed against Plaintiff for the balance due under a promissory note tendered
as part of the consideration for the stock. Following the presentation of evidence at trial, the Court
ruled in favor of Defendants on the complaint and on the counterclaim

The corporation at issue in this case is SecurAmerica Holding Corporation, which at one time

was the parent company for a Business Industrial Development Corporation called SecurAmerica

/'/‘- l
Th|s document entered on the docket sheet In compliance f §

with sure se and/or re(a; FecP on §~j #O 52 jj j

Case 2:02-cv-02177-.]PI\/|-STA Document 75 Filed 05/05/05 Page 2 of 7 Page|D 151

Business Credit.l SecurAmerica was founded by H. Morgan Brookfield and W. Randall Reagan, and
it was in the business of loaning money to small and medium size businesses The loans to be
secured by the assets of the borrowing companies

Defendant MSB acquired 750,000 shares and majority interest in SecurAmerica pursuant to
a Shareholders’ Agreement (Tr. ex. 12), which was executed by all of the shareholders including
Reagan and Brookfield. The Shareholders’ Agreement allowed MSB to designate an individual to
sit on the Board of Directors. Defendant Ellen Hardymon, who was affiliated with MSB, was
MSB’s designated Board member.

The Shareholders’ Agreement also provided for employment contracts for Brool<fleld as
Chairman of SecurAmerica and for Reagan as its President and Chief Executive Officer. These
contracts Were subject to termination by a majority vote of the shareholders if the company failed
to achieve certain earnings projections in the first two years of operation and Brookfield and Reagan
failed to purchase the stock of any shareholder who wanted to sell. In addition, the Shareholders’
Agreement also provided that if SecurAmerica failed to meet the first or second earnings targets, any
shareholder had the right to sell his (or her) shares and SecurAmerica, and Brookfield and/or Reagan
had the right to purchase those shares for Sl .OO per share plus 8% interest for the period the shares
were held. ln the event the stock was not purchased, a majority of the shareholders had the right to
terminate the employment contracts, liquidate the company and distribute its assets to the
shareholders

SecurAmerica commenced business operations in July, l 997. From November, 1997 to June,

1999, SecurAmerica held quarterly Board of Director meetings Hardymon attended all Board

l SecurAmerica Holding Corporation and SecurAmerica Business Creclit will be collectively referred to as
“SecurAmerica.”

 

_2_

Case 2:02-cv-02177-.]PI\/|-STA Document 75 Filed O5/O5/O5 Page 3 of 7 Page|D 152

meetings Financia] statements for SecurAmerica were submitted to the Board at its meetings
There was no evidence that Hardymon knew of any material problems with SecurAmerica’s
operations at any time prior to November 15, 1999.

In 1999, the state and federal regulators informed MSB’s parent company (a state chartered
savings and loan named United Midwest Savings Bank) that MSB’s investment in SecurAmerica
was not a permissible investment MSB (and its parent) applied for approval for the SecurAmerica
investment While the application was pending, the accounting firm of Hoff, Davis & Dilley, PLC
issued its “Audited Consolidated Financial Statements” for SecurAmerica for March 31, 1999 and
1998. (Tr. ex. 9). According to the audited financial report, SecurAmerica did not meet its second
earnings target. After receipt of the audited financial data, MSB elected to exercise the takeout right
in the Shareholders’ Agreement. On May 19, 1999, Hardymon sent a letter (Tr. ex. 31) to Brookfield
notifying him of MSB’s decision to invoke the takeout option.

Following receipt of the May 19 letter, Brookfield and Reagan requested time to locate
financing to acquire MSB’s shares, and they were granted until November 15, 1999. Brookfield and
Reagan committed to find financing to acquire MSB’s 750,000 shares Reagan and Brookfleld later
identified Plaintiff DePriest as the buyer for the MSB’s shares DePriest was a sophisticated
investor. l-lis April 30, 1999 personal financial statement reflected 398,177,()00 in assets and various
investments (Tr. ex. 45). Brookfield had known DePriest since approximately 1974. DePriest had
some involvement with SecurAmerica prior to being approached about MSB’s shares DePriest had
personally borrowed $400,000 from SecurAmerica (Tr. ex. 5), and he was the founder, chairman and
majority shareholder of a company (Maritel) that previously had borrowed $1.5 million from

SecurAmerical

Case 2:02-cv-02177-.]PI\/|-STA Document 75 Filed O5/O5/O5 Page 4 of 7 Page|D 153

Brookfield and Reagan had discussions with DePriest about acquiring the shares The
discussions between Brookfield, Reagan and DePriest were not done at Hardymon’s request
lnstead, Reagan and Brookfield did this on their own to prevent the company from being liquidated
Neither Brookfield nor Reagan had any conversations with DePriest at Hardymon’s direction. Nor
did Brookfield or Reagan act as MSB’s agent in attempting to find a buyer for the MSB shares

Reagan instructed SecurAmerica’s legal counsel to prepare a stock purchase agreement to
acquire MSB’s shares On September 9, 1999, Reagan wrote a memorandum to Hardymon about
the efforts to acquire MSB’s stock and he noted that for the purposes of the stock purchase
agreement, “Morgan and I are the purchasers of the shares” and that “Don DePriest is the liquidity
source that we expect to provide funding to complete the stock purchase.” (Tr. ex. 21 ). On October
1 l, 1999, United Midwest (on behalf of MSB), Brookfield, Reagan and SecurAmerica entered into
the “Stock Purchase Agreement,” (Tr. ex. 14) whereby Brookfield and Reagan agreed to purchase
the 75(),000 shares for $750,000 in cash on November 15, 1999 plus a promissory note for
$157,640.42 to be paid in three installments

In November, 1999, Brookfield and Reagan assigned their rights under the Stock Purchase
Agreement to DePriest. (Tr. ex. 37) On or about November 15, 1999, Plaintiff wired $750,000 to
the account of MSB and signed a promissory note for 5157,640.42 (the “Note”). (Tr. ex. 2).
Pursuant to the terms of the Note, DePriest “unconditional]y and absolutely promise[d] to pay” the
sum of $157,640.42. The Note also provided that in the event of any suit to collect on the
promissory note, the “holder of the note” (MSB) “shall be entitled to collect all reasonable costs and

expenses of suit, including, but not limited to, reasonable attorney fees.”

Case 2:02-cv-02177-.]PI\/|-STA Document 75 Filed O5/O5/O5 Page 5 of 7 Page|D 154

In December 2000, DePriest became a mem ber of the SecurAmerica Board of Directors. At
this meeting, the problems with SecurAmerica’s operations including the problems with the loan
portfolio, were discussed. This meeting was the first notification to SecurAmerica Board members
(other than Reagan and Brookfield) of problems With the company. Subsequent investigations
revealed significant problems with the loan portfolio. On March 7, 2001, the Board eventually
discharged Reagan.

DePriest made one payment on the Note. DePriest later claimed that Defendants
misrepresented the status of SecurAmerica and/or failed to disclose material facts to him He then

sought to rescind his purchase of the shares DePriest did not make any other payments on the Note.

On March 14, 2002, DePriest filed this lawsuit against Hardymon and MSB for federal and
state securities law violations, breach of fiduciary duty, breach of contract, fraud, negligent
misrepresentation, and fraudulent inducement Defendants answered the complaint and MSB
counterclaimed against Plaintiff for the outstanding indebtedness due on the note plus interest, and
the costs of collection, including attorney fees Defendants moved for summary judgment on all
claims against them and on the counterclaim On September l, 2004, the Magistrate Judge issued
a Report and Recommendation (“Report”) granting Defendants’ motion for summary judgment in
its entirety. On September 30, 2004, the Court adopted a portion of the Report and ruled that there
were factual issues regarding Plaintiff` s claims for fraud, negligent misrepresentation and fraudulent
inducement Due to the presence of these factual issues, the Court did not adopt the Report
respecting the counterclaim

On April 25 , 2005, the Court convened a bench trial on the remaining counts Plaintiff bore

_5_

Case 2:02-cv-02177-.]PI\/|-STA Document 75 Filed O5/O5/O5 Page 6 of 7 Page|D 155

the burden of proof on his claims for fraud, negligent misrepresentation and fraudulent inducement
Defendant MSB bore the burden of proof on its counterclaim

After reviewing the testimony of the witnesses and the trial exhibits, the Court finds that
Plaintiff failed to meet the burden of proof on his claims The Court therefore finds in favor of

Defendants on Plaintiff’ s claims for fraud, negligent misrepresentation and fraudulent inducement

With regard to the counterclaim, the Court finds that Defendant MSB has met its burden of
proof. MSB is the current holder of the Note. Plaintiff has failed to pay in accordance of the terms
of the Note. The unpaid principal balance due on the Note is 3105,093.61. As of May 5, 2005, the
interest due on the Note is $38,075.55. Defendant is therefore entitled to a judgment in the amount
of $]43,169.16. Defendant also is entitled to receive litigation expenses and reasonable attorney
fees Defendant is therefore directed to submit an application for fees and expenses

.--

s@ oRDERED this 6 day ar May, 2005

n atf

lon P. McCalla
U ited States District Judge

   

UNDITE STATES DISTRICT oURT- WEDIRIT oF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
case 2:02-CV-02177 was distributed by fax, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

.leffrey A. Yeager

SQUIRE SANDERS & DEl\/[PSEY LLP
1300 Huntington Center

41 S. High Street

Columbus, OH 43215

Keith Shumate

SQUIRE SANDERS & DEl\/[PSEY LLP
1300 Huntington Center

41 S. High Street

Columbus, OH 43215

Robert K. Alvarez

BOURLAND HEFLIN ALAREZ & l\/l[NOR
5400 Poplar Avenue

Ste. 100

l\/lemphis7 TN 38119

.lohn Marshall J ones

BOURLAND HEFLIN ALAREZ & l\/l[NOR
5400 Poplar Avenue

Ste. 100

l\/lemphis7 TN 38119

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

l\/lemphis7 TN 38103

.lohn .l. Heflin

BOURLAND HEFLIN ALAREZ & l\/l[NOR
5400 Poplar Avenue

Ste. 100

l\/lemphis7 TN 38119

Honorable .l on McCalla
US DISTRICT COURT

